Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Modern Farm LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1076 W. Chandler Blvd, Ste 113                                  12705 E. Via de Palmas
                                  Chandler, AZ 85224                                              Chandler, AZ 85249
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Modern Farm LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                         Sean Benjamin Cooke and Cynthia Louise                                                 Member and/or
     attach a separate list                       Debtor     Cooke                                                          Relationship            Manager
                                                  District   Arizona                      When                              Case number, if known

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Debtor   Modern Farm LLC                                                         Case number (if known)
         Name




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Debtor   Modern Farm LLC                                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Modern Farm LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 15, 2023
                                                  MM / DD / YYYY


                             X /s/ Sean Cooke                                                             Sean Cooke
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   Manager




18. Signature of attorney    X /s/ D. LAMAR HAWKINS                                                        Date August 15, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 D. LAMAR HAWKINS
                                 Printed name

                                 Guidant Law, PLC
                                 Firm name

                                 402 E. Southern Ave
                                 Tempe, AZ 85282
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-888-9229                  Email address      lamar@guidant.law

                                 013251 AZ
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Modern Farm LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                 Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Air Capital Nevada                                  1976 Piper                                             $28,000.00                 $22,500.00                  $5,500.00
                                                     PA32R-300 (total
                                                     value $45,000 -
                                                     Debtor's interest
                                                     is 50% co-owned
                                                     with Brian
                                                     Osborn)
 BMO Harris                                          Business Credit                                                                                             $11,030.15
 PO Box 2008                                         Card
 Milwaukee, WI
 53201
 BMO Harris Bank                                     Business Loan             Contingent                                                                        $80,000.00
 PO Box 2008                                                                   Unliquidated
 Milwaukee, WI
 53201
 Channel Partners                                    1992 GMC C7000                                         $13,000.00                  $7,750.00                  $5,250.00
 LLC
 10900 Wayzata Blvd,
 #300
 Minnetonka, MN
 55305
 Chase                                               Business Debt                                                                                                 $6,932.17
 PO Box 15369
 Wilmington, DE
 19850
 CIT Bank, N.A.                                      2022 Wolverine                                         $13,224.00                  $5,000.00                  $8,224.00
 155 Commerce Way                                    Auger w/2 bits,
 Portsmouth, NH                                      2022 Mowerking
 03801                                               Trencher, 2022
                                                     Land honor root
                                                     Rake, 2022 root
                                                     Grapple Bucket
                                                     with Teeth, 2022
                                                     Spade Style
                                                     Stump Bucket




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Modern Farm LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Fundfi Merchant                                     Accounts                                               $24,500.00                        $0.00              $24,500.00
 Funding                                             receivable
 c/o Glenn Francis
 Russell, Jr.
 38 Rock St, Suite 12
 Fall River, MA 02720
 IPFS Corporation                                    business debt                                                                                                 $2,577.07
 PO Box 412086
 Kansas City, MO
 64141
 Small Business                                      Inventory,                                             $38,000.00                        $0.00              $38,000.00
 Administration                                      equipment,
 10737 Gateway                                       deposit accounts,
 West, #300                                          etc.
 El Paso, TX 79935
 Swift Financial aka                                 Accounts           Unliquidated                       $115,940.42                        $0.00            $115,940.42
 PayPal                                              receivable,
 3505 Silverside Rd.,                                deposit accounts,
 Ste 200                                             personal property,
 Wilmington, DE                                      equipment,
 19810                                               inventory, etct.




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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AIR CAPITAL NEVADA



BMO HARRIS
PO BOX 2008
MILWAUKEE WI 53201


BMO HARRIS BANK
PO BOX 2008
MILWAUKEE WI 53201


CHANNEL PARTNERS LLC
10900 WAYZATA BLVD, #300
MINNETONKA MN 55305


CHASE
PO BOX 15369
WILMINGTON DE 19850


CIT BANK, N.A.
155 COMMERCE WAY
PORTSMOUTH NH 03801


FUNDFI MERCHANT FUNDING
C/O GLENN FRANCIS RUSSELL, JR.
38 ROCK ST, SUITE 12
FALL RIVER MA 02720


IPFS CORPORATION
PO BOX 412086
KANSAS CITY MO 64141


SEAN AND CYNTHIA COOKE
12705 E VIA DE PALMAS
CHANDLER AZ 85249


SMALL BUSINESS ADMINISTRATION
10737 GATEWAY WEST, #300
EL PASO TX 79935


STUART-LIPPMAN AND ASSOCIATES, INC.
5447 E 5TH ST., #110
TUCSON AZ 85711-2345



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SWIFT FINANCIAL AKA PAYPAL
3505 SILVERSIDE RD., STE 200
WILMINGTON DE 19810


SWIFT FINANCIAL C/O CAPEHART SCATCHARD
ATTN: SERGIO I SCUTERI
8000 MIDLANTIC DR., STE 300S
MOUNT LAUREL NJ 08054




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